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  Attorneys for Plaintiff

                     IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                      STATE OF HAWAPI

   PEGGY MAU,                            ) Civil No.
                                         )(Other Non-Vehicle Tort)
                           Plaintiff,    )
                                         ) COMPLAINT; DEMAND FOR JURY
               VS.                       ) TRIAL; SUMMONS
                                         )
  CVS PHARMACY,INC.; LONGS DRUG          )
  STORES CALIFORNIA, L.L.C.; JOHN DOES   )
  1-10; JANE DOES 1-10; DOE PARTNERSHIPS )
  1-10; DOE CORPORATIONS 1-10; ROE       )
  "NON-PROFIT" CORPORATIONS 1-10; and    )
  ROE GOVERNMENTAL ENTITIES 1-10,        )
                                         )
                         Defendants.     )
                                         )
                                         )

                                          COMPLAINT

                 COMES NOW,Plaintiff above-named, by and through her attorneys

  REMILLARD & HUYNH,for her claims against Defendants above-named, and allege and aver

 as follows:

         I.      Plaintiff PEGGY MAU ("Plaintiff') is, and at all times herein, was a resident of

 Honolulu, Hawaii.




                                        EXHIBIT "A"
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         2.      Upon information and belief, Defendant CVS PHARMACY,INC.("Defendant

  CVS")is, and was at all times pertinent herein, a foreign profit corporation, incorporated in the

  State of Rhode Island.

         3.      Defendant LONGS DRUG STORES CALIFORNIA, L.L.C.("Defendant Longs")

  is, and was at all times pertinent herein, a foreign limited liability company, incorporated or

  formed in the State of California.

         4.      Upon information and belief at all times pertinent herein, Defendant CVS and/or

  Defendant Longs owned and/or leased and/or operated and/or controlled the Longs Drug Store

  located at 3221 Waialae Avenue in Honolulu, Hawaii 96816 ("Subject Store").

         5.      As the owner and/or lessor and/or operator of the Subject Store, Defendant CVS

  and/or Defendant Longs had a duty to identify and/or remove and/or eliminate and/or otherwise

  warn patrons of the Subject Store of conditions upon the premises that posed an unreasonable

  risk of harm to others, including Plaintiff.

         6.      Defendants JOHN DOES 1-10; JANE DOES 1-10; DOE PARTNERSHIPS 1-10;

  DOE CORPORATIONS 1-10; ROE "NON-PROFIT" CORPORATIONS 1-10; and ROE

  GOVERNMENTAL ENTITIES 1-10, pursuant to Rule 17(d)ofthe Hawaii Rules of Civil

  Procedure, at all times pertinent herein, namely, as agents, servants, employees, employers,

  representatives, co-venturers, associates, vendors, suppliers, manufacturers, sub-contractors or

  contractors, and/or owners, lessees, assignees, licensees, designers, and architects of the named

  Defendants; and/or were in some manner, presently unknown to Plaintiff, engaged in the

  activities alleged herein; which conduct was a proximate cause of injuries and/or damages to

  Plaintiff; and/or were in some manner related to the named Defendants; and that since their "true

  names, identities, capacities, activities, and/or responsibilities" are presently unknown to Plaintiff

                                                    2
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  or her attorneys, Plaintiff(whose attorneys have been and are undertaking an investigation to

  ascertain the full names and identities of the foregoing) as leave ofthis Court to amend this

  Complaint at such time or times as the true identities, capacities, activities, and/or responsibilities

  of these Defendants become known.

          7.       At all times mentioned herein, the agents, servants, and/or employees of

  Defendant CVS and/or Defendant Longs were acting within the course and scope of their

  agency, service, and/or employment with Defendant CVS and/or Defendant Longs.

          8.       The aforementioned conduct of Defendant CVS and Defendant Longs and the

  other Defendants submits them to the jurisdiction of this court pursuant to the Hawai`i Revised

  Statutes § 634-35.

          9.       Paragraphs 1 through 8 are re-alleged and incorporated herein by reference.

          1 0.     On August 22,2020, Plaintiff visited the Subject Store.

          1 1.     Plaintiff was browsing in an aisle within the Subject Store when suddenly and

  without warning, she was struck by a large 6-wheel dolly, carrying cases of soda and water,

  stacked about 6- 7 feet high, being pushed by an employee of Defendant CVS and/or Defendant

  Longs ("the incident").

          12.      As a result of the incident, Plaintiff was thrown to the floor and the dolly ran over

  her left foot.

          1 3.     The substantial cause of the incident was the negligence of Defendant CVS and/or

  the agents and/or employees of Defendant CVS and/or the negligence of Defendant Longs and/or

  the agents and/or employees of Defendant Longs and/or the other Defendants (collectively "the

  Defendants").



                                                     3
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         14.       Under the doctrine of respondeat superior, Defendant CVS and Defendant Longs

  are liable for the negligence of their agents and/or employees.

         15.       The agent and/or employee of Defendant CVS and/or Defendant Longs was

  negligent in stacking a dolly 6 -7 feet high with cases of water and soda, which blocked the agent

  and/or employee's view of his or her surroundings, and pushing the dolly in an area where

  customers were likely to be standing, and were likely to be struck by the dolly.

          16.      The agent and/or employee of Defendant CVS and/or Defendant Longs was

  negligent in failing to warn customers in the area where they were pushing the dolly, including

 Plaintiff, that the dolly, stacked about 6-7 feet high with cases of water soda, was being pushed

  through the area.

         1 7.      As a direct result of the negligence of the Defendants, Plaintiff sustained painful

  and serious bodily injuries requiring past and/or present and/or future medical treatment.

         1 8.      By reason of the foregoing, Plaintiff has sustained general and special damages to be

 shown at trial.

                    WHEREFORE,Plaintiff demands judgment against Defendant CVS PHARMACY,

  INC. and/ or Defendant LONGS DRUG STORES CALIFORNIA, L.L.C. and/or the other Defendants,

 jointly and severally, as follows:

                   I. General Damages in an amount to be shown at trial in favor of Plaintiff;

                   2. Special Damages in an amount to be shown at trial in favor of Plaintiff;

                   3. Prejudgment interest; and

                   4. Costs, attorneys' fees and such other and further relief as deemed proper by the Court.




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            DATED: Honolulu, Hawai`i, November 3.2021
                                     REMILLARD & HUYNH
                                     Attorneys for Plaintiff



                                 By    /s/ Rechelle A. M. Barbour
                                      LAURENT J. REMILLARD
                                      DON V. HUYNH
                                      RECHELLE A.M. BARBOUR
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                    IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                      STATE OF HAWAPI

   PEGGY MAU,                                               Civil No.
                                                           (Other Non-Vehicle Tort)
                                Plaintiff,
                                                           DEMAND FOR JURY TRIAL
                  VS.


  CVS PHARMACY,INC.; LONGS DRUG
  STORES CALIFORNIA, L.L.C.; JOHN DOES
   1-10; JANE DOES 1-10; DOE PARTNERSHIPS
   1-10; DOE CORPORATIONS 1-10; ROE
  "NON-PROFIT" CORPORATIONS 1-10; and
  ROE GOVERNMENTAL ENTITIES 1-10,

                              Defendants.


                                 DEMAND FOR JURY TRIAL

                Plaintiff PEGGY MAU,by and through her attorneys undersigned, hereby

  demand trial by jury in her case above-noted.



                DATED: Honolulu, Hawai`i, _November 3, 2021
                                         REMILLARD & HUYNH
                                         Attorneys for Plaintiff



                                             By    /s/ Rechelle A. M. Barbour
                                                  LAURENT J. REMILLARD
                                                  DON V. HUYNH
                                                  RECHELLE A.M. BARBOUR
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       STATE OF HAWAI'l                                                                             CASE NUMBER
                                                               SUMMONS
     CIRCUIT COURT OF THE                           TO ANSWER CIVIL COMPLAINT
         FIRST CIRCUIT
  PLAINTIFF                                                  VS.      DEFENDANT(S)
                                                                      CVS PHARMACY,INC.; LONGS DRUG STORES
 PEGGY MAU                                                            CALIFORNIA, L.L.C.; JOHN DOES 1-10; JANE DOES
                                                                      1-10; DOE PARTNERSHIPS 1-10; DOE CORPORATIONS
                                                                      1-10; ROE "NON-PROFIT'CORPORATIONS 1-10; and
                                                                      ROE GOVERNMENTAL ENTITIES 1-10,




  PLAINTIFF'S NAME & ADDRESS,TEL. NO.
 PEGGY MAU
 do Remillard & Huynh
 841 Bishop St. Suite 2302
 Honolulu Hawaii, 96813
 808-536-5737




    TO THE ABOVE-NAMED DEFENDANT(S)
            You are hereby summoned and required to file with the court and serve upon
     Rechelle A.M. Barbour
    841 Bishop St. Suite 2302
    Honolulu Hawaii, 96813                                                                                                        .
      plaintiff's attorney, whose address Is stated above, an answer to the complaint which is herewith served upon you, within
      20 days after service of this summons upon you, exclusive of the date of service. If you fail to do so,judgment by default
      will be taken against you for the relief demanded in the complaint.

           THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN 10:00 P.M. AND 6:00 A.M. ON
           PREMISES NOT OPEN TO THE GENERAL PUBLIC, UNLESS A JUDGE OF THE ABOVE-ENTITLED
           COURT PERMITS,IN WRITING ON THIS SUMMONS,PERSONAL DELIVERY DURING THOSE HOURS.
           A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRY OF DEFAULT AND DEFAULT
         . JUDGMENT AGAINST THE DISOBEYING PERSON OR PARTY.


    The original document is filed in the                        Effective Date of 28-Oct-2019
    Judiciary's electronic case management                                                                      -—   •
                                                                 Signed by: is/ Patsy Nakamoto                   . ..._ :
    system which is accessible via eCourt Kokua                                                                         :
                                                                                                                        .
    at: http:/www.courts.state.hi.us                             Clerk, 1st Circuit, State of Hawaii'


         In accordance with the Americans with Disabilities Act, and other applicable state and federal laws, if you require a
         reasonable accommodation for a disability, please contact the ADA Coordinator at the Circuit Court Administration Office on
         OAHU- Phone No.808-539-4400, TTY 808-539-4853, FAX 539-4402, at least ten (10) working days prior to your hearing or
(44,01,. appointment date.




Form 1C-P-787(1CCT)(19(19)
Summons to Complaint BOR3-AC-508 (10/19)
